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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                Plaintiff,                                    Case Number 07-20246
 v.                                                           Honorable David M. Lawson

 VICTOR DESHAWN HOLMES,

             Defendant.
 ______________________________/

                  ORDER DENYING MOTIONS TO REDUCE SENTENCE

        This matter is before the Court on two motions by the defendant for a reduction of his

 sentence filed under the authority of 18 U.S.C. § 3582(c)(2). On June 18, 2012, the defendant filed

 a motion for sentence reduction, arguing that he is entitled to the benefit of Amendment 706 to the

 United States Sentencing Guidelines, which reduced the disparity between guideline calculations

 applied to drug offenses involving crack and powder cocaine. On March 28, 2016, he filed a second

 motion contending that he is entitled to resentencing based on revisions to the drug quantity tables

 in the guidelines enacted under Amendment 782. He later filed a corrected copy of that second

 motion, which added only a copy of a missing certificate of service.

        Holmes pleaded guilty on April 28, 2008 to conspiracy to distribute more than five grams

 of crack cocaine. He had been convicted previously of two felony drug crimes, and therefore he was

 classified as a career offender according to section 4B1.1(a) of the United States Sentencing

 Guideline Manual. Because he was a career offender, his sentencing guideline range was calculated

 at 262 to 327 months. Nonetheless, on August 18, 2008, this Court sentenced Holmes to a custody

 term of 148 months, to be followed by eight years of supervised release. Holmes’s conviction and

 sentence were affirmed on appeal on November 2, 2010.
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        The defendant later filed a motion to vacate his guilty plea and dismiss his case, invoking

 the authority of Federal Rule of Civil Procedure 60(b) and United States v. Pruitt, 545 F.3d 416 (6th

 Cir. 2008). The Court construed that filing as a motion to vacate sentence under 28 U.S.C. § 2255.

 The Court denied the motion to vacate on January 4, 2012, finding that the Sixth Circuit had

 considered and addressed in its opinion on the previous appeal all of the arguments that the

 defendant raised in challenging his career offender classification, and that those arguments were

 frivolous.

        Under 18 U.S.C. § 3582(c)(2), a court may modify a term of imprisonment after it is imposed

 only under certain conditions:

        [I]n the case of a defendant who has been sentenced to a term of imprisonment based
        on a sentencing range that has subsequently been lowered by the Sentencing
        Commission pursuant to 28 U.S.C. 994(o), upon motion of the defendant or the
        Director of the Bureau of Prisons, or on its own motion, the court may reduce the
        term of imprisonment, after considering the factors set forth in section 3553(a) to the
        extent that they are applicable, if such a reduction is consistent with applicable policy
        statements issued by the Sentencing Commission.

 (Emphasis added). The defendant argues that he is entitled to a sentence reduction because he was

 sentenced to the crack cocaine guidelines, as opposed to the career offender guidelines, because the

 Court substantially departed from the career offender guidelines, and because the Sentencing

 Commission reduced the crack cocaine guidelines and made them retroactive.

        In his first motion, the defendant argues that he is entitled to have his sentence reduced

 because the United States Sentencing Commission, following the enactment of the Fair Sentencing

 Act of 2010, issued new and more lenient sentencing guidelines applicable to offenses involving

 crack cocaine. Those guidelines were made retroactive by the Sentencing Commission as of

 November 1, 2011, under Amendment 706. However, the Sixth Circuit has held that a defendant


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 sentenced as a career offender is not eligible for a sentence reduction based on those amended

 guidelines, even if the court grants a substantial downward departure from the career offender range.

 United States v. Perdue, 572 F.3d 288, 290-92 (6th Cir. 2009).

        In his second motion, the defendant argues that he is entitled to have his sentence reduced

 based on Amendment 782 to the United States Sentencing Guidelines, which retroactively reduced

 the base offense level of many drug crimes. “The Department of Justice’s ‘Drugs Minus Two’

 sentencing policy [was] adopted under then-Attorney General Eric Holder and codified in the

 Guidelines through Amendment 782, effective November 1, 2014,” and “[p]ursuant to that policy,

 the base offense level of many, but not all, drug crimes was retroactively reduced by two.” United

 States v. Powell, 798 F.3d 431, 442 (6th Cir. 2015) (citations omitted). However, as the Sixth

 Circuit explained in its recent decision in United States v. Smith, 814 F.3d 802 (6th Cir. 2016):

        [Section] 3582(c)(2) does not permit a sentence reduction when the operation of
        another Guidelines provision prevents an amendment from having the effect of
        lowering the Guidelines range applicable to a defendant’s case. Even if Amendment
        782 had applied when Smith was sentenced, Smith’s status as a career offender under
        § 4B1.1 still would have required the application of a Guidelines range of 360
        months to life. Accordingly, Smith does not qualify for a reduction under §
        3582(c)(2), and the district court properly denied such relief.

 Smith, 814 F.3d at 803.

        The defendant is not entitled to have his sentence recalculated based on either of the

 guideline amendments on which he relies, because his sentence was controlled by the career

 offender guideline range and not any guideline range derived from calculations under any of the

 subsequently amended provisions. The Court therefore will deny the defendant’s motions.

        Accordingly, it is ORDERED that the defendant’s motions to reduce sentence [dkt. #396,

 476, 478] are DENIED.


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                                                      s/David M. Lawson
                                                      DAVID M. LAWSON
                                                      United States District Judge

 Dated: May 25, 2016

                                               PROOF OF SERVICE

                       The undersigned certifies that a copy of the foregoing order was served
                       upon each attorney or party of record herein by electronic means or first
                       class U.S. mail on May 25, 2016.

                                                         s/Susan Pinkowski
                                                         SUSAN PINKOWSKI




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